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                            EXHIBIT 1
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Redacted: Attorney Client Communication




From: Amy Neuhardt  
Sent: Tuesday, April 3, 2018 9:05 PM 
To: 'mkamin@cov.com' <mkamin@cov.com> 
Cc: Lee Wolosky <lwolosky@BSFLLP.com> 
Subject: Stipulation re TRO DRAFT v3 

Mitch – Please see the attached proposed joint stipulation with respect to the TRO and Preliminary Injunction motions 
against Defendant State of Qatar.  (Pardon formatting issues with the signature blocks, which I am in the process of 
getting fixed, assuming the content is ok with you).   

With respect to the motion for expedited discovery against Defendants Stonington and Muzin, we will consider further 
limiting discovery if you articulate a basis for doing so and provide case law supporting any such basis. 

In addition, as discussed, we would like a representation from you that you are permitted to represent on behalf of your 
client that neither the State of Qatar nor anyone acting directly or indirectly on its behalf: 
         a. is presently participating directly or indirectly in accessing Plaintiffs’ electronic information or data; or
         b. is presently disseminating directly or indirectly any documents, information or data from Plaintiffs’
             electronic or hard copy files to the media.

Finally, if we are unable to reach agreement with respect to these matters, you have acknowledged that you have actual 
notice of our moving papers and it will not be necessary to provide further service of those documents. 

We would like to file this stipulation tonight if possible and are available to discuss it.  I can be reached at 202‐274‐1137 
or 917‐913‐5164.  Lee can be reached on his cell at 301‐728‐6981.   




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                            EXHIBIT 2
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                                                                                           DRAFT 4/3/2018

                       BOIES SCHILLER FLEXNER LLP
                     1 Travis LeBlanc, SBN 251097
                        tleblanc@bsfllp.com
                     2 435 Tasso Street, Suite 205
                       Palo Alto, California 94301
                     3 Phone: (650) 445-6400 /Fax: (650) 329-8507
                     4 David K. Willingham, SBN 198874
                        dwillingham@bsfllp.com
                     5 725 S Figueroa Street, 31st Floor
                       Los Angeles, California 90017
                     6 Phone: (213) 629-9040 /Fax: (213) 629-9022
                     7 Lee S. Wolosky (pro hac vice)
L L P




                        lwolosky@bsfllp.com
                     8 Robert J. Dwyer (pro hac vice pending)
                        rdwyer@bsfllp.com
F L E X N E R




                     9 575 Lexington Ave., 7th Floor
                       New York, NY 10022
                    10 Phone: (212) 446-2300 /Fax: (212) 446-2350
                    11 Amy L. Neuhardt (pro hac vice pending)
                        aneuhardt@bsfllp.com
S C H I L L E R




                    12 1401 New York Avenue, NW
                       Washington, DC 20005
                    13 Phone: (202) 237-2727 /Fax: (202) 237-6131
                    14 Counsel for Plaintiffs
                    15
B O I E S




                    16                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DISTRICT
                    17 BROIDY CAPITAL MANAGEMENT      Case No. 2:18-CV-02421-JFW-(Ex)
                       LLC, ELLIOTT
                    18 ROSENZWEIG,  BROIDY, and ROBIN
                                                      The Honorable John F. Walter
                    19               Plaintiffs,                   JOINT STIPULATION WITH
                    20                                             DEFENDANT STATE OF QATAR
                               v.                                  AND PROPOSED ORDER
                    21 STATE OF QATAR, STONINGTON                  REGARDING TEMPORARY
                                                                   RESTRAINING ORDER, ORDER
                    22 STRATEGIES  LLC, NICOLAS D.
                       MUZIN, and DOES 1-10,
                                                                   GRANTING EXPEDITED
                                                                   DISCOVERY, AND ORDER TO
                    23                                             SHOW CAUSE FOR
                                     Defendants.                   PRELIMINARY INJUNCTION
                    24
                    25
                    26
                               WHEREAS, on April 2, 2018, Plaintiffs Broidy Capital Management LLC,
                    27
                         Elliott Broidy, and Robin Rosenzweig (“Plaintiffs”) moved this Court for a
                    28
                               [PROPOSED] TEMPORARY RESTRAINING ORDER, ORDER GRANTING EXPEDITED DISCOVERY,
                                                           ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION
                  Case 2:18-cv-02421-JFW-E Document 34-2 Filed 04/04/18 Page 5 of 15 Page ID #:389




                     1 temporary restraining order and order to show cause for preliminary injunction
                     2 against all defendants and for expedited discovery against defendants Stonington
                     3 Strategies LLC and Nicolas D. Muzin; and
                     4         WHEREAS, on April 3, 2018, counsel for Plaintiffs and Defendant State of
                     5 Qatar conferred regarding these motions;
                     6         IT IS HEREBY STIPULATED AND AGREED that, subject only to any
                     7 subsequent court order overriding this Stipulation:
L L P




                     8         (1) Plaintiffs’ motion for a temporary restraining order and order to show
F L E X N E R




                     9            cause for preliminary injunction is stayed without prejudice as to
                    10            Defendant State of Qatar until such time as this Court has resolved any
                    11            issues regarding subject matter jurisdiction that the State of Qatar wishes
S C H I L L E R




                    12            to raise in a timely filed motion to dismiss;
                    13         (2) Plaintiffs’ motion for expedited discovery to Defendants’ Stonington
                    14            Stonington Strategies LLC and Nicolas D. Muzin seeks discovery only
                    15            from May 1, 2017 to the present,
B O I E S




                    16         IT IS FURTHER STIPULATED AND AGREED that signatures obtained via
                    17 facsimile or PDF shall have the same force and effect as original signatures.
                    18 Dated: April __, 2018
                    19
                       BOIES SCHILLER FLEXNER LLP                       COVINGTON & BURLINGTON
                    20 LLP
                    21
                         By:                        _____________By:          _
                    22         _______________________
                               Lee Wolosky (pro hac vice)                     Mitchell A. Kamin (Bar No.
                    23         202788)
                               575 Lexington Ave, 7th Floor                   1999 Avenue of the Stars
                    24         New York, NY 10022                             Suite 3500
                               1909 K Street, NW                              Los Angeles, CA 90067
                    25
                    26         Attorneys for Plaintiffs                 Attorneys for Defendant State of Qatar
                    27
                    28
                                                                  -2-
                               [PROPOSED] TEMPORARY RESTRAINING ORDER, ORDER GRANTING EXPEDITED DISCOVERY,
                                                           ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION
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                     1                                                   SO ORDERED:
                     2
                     3
                     4                                                   ______________________
                     5                                                   The Hon. John F. Walter
                                                                         United States District Judge
                     6
                     7                                                   April __, 2018
L L P




                     8
F L E X N E R




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                    10
                    11
S C H I L L E R




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B O I E S




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                                                               -3-
                              [PROPOSED] TEMPORARY RESTRAINING ORDER, ORDER GRANTING EXPEDITED DISCOVERY,
                                                          ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION
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                            EXHIBIT 3
     Case 2:18-cv-02421-JFW-E Document 34-2 Filed 04/04/18 Page 8 of 15 Page ID #:392




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-----Original Message-----
From: Kamin, Mitchell A [MKamin@cov.com]
Sent: Tuesday, April 03, 2018 11:01 PM Eastern Standard Time
To: Lee Wolosky
Cc: Amy Neuhardt
Subject: Re: Stipulation re TRO DRAFT v3

Lee -

I do not yet have my client’s response to your proposal. I will reach back out as soon as I do.

Best, Mitch

Mitch Kamin
Covington & Burling
424-332-4759
mkamin@cov.com

> On Apr 3, 2018, at 7:29 PM, Lee Wolosky <lwolosky@BSFLLP.com> wrote:
>
> Mitch - would be grateful for an update of where you are with this. We are hoping to file a stip or reply
shortly. Lee
>
> Amb. Lee S. Wolosky
> Partner
> Boies, Schiller & Flexner LLP
> 575 Lexington Avenue
> New York, New York 10022
> 212-446-2300 (tel)
> 212-446-2350 (fax)
> www.bsfllp.com
> ________________________________________
> From: Amy Neuhardt
> Sent: Tuesday, April 03, 2018 9:05 PM
> To: mkamin@cov.com
> Cc: Lee Wolosky
> Subject: Stipulation re TRO DRAFT v3
                                                         1
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>
> Mitch – Please see the attached proposed joint stipulation with respect to the TRO and Preliminary Injunction
motions against Defendant State of Qatar. (Pardon formatting issues with the signature blocks, which I am in
the process of getting fixed, assuming the content is ok with you).
>
> With respect to the motion for expedited discovery against Defendants Stonington and Muzin, we will
consider further limiting discovery if you articulate a basis for doing so and provide case law supporting any
such basis.
>
> In addition, as discussed, we would like a representation from you that you are permitted to represent on
behalf of your client that neither the State of Qatar nor anyone acting directly or indirectly on its behalf:
>
> a. is presently participating directly or indirectly in accessing Plaintiffs’ electronic information or data; or
>
> b. is presently disseminating directly or indirectly any documents, information or data from Plaintiffs’
electronic or hard copy files to the media.
>
> Finally, if we are unable to reach agreement with respect to these matters, you have acknowledged that you
have actual notice of our moving papers and it will not be necessary to provide further service of those
documents.
>
> We would like to file this stipulation tonight if possible and are available to discuss it. I can be reached at
202-274-1137 or 917-913-5164. Lee can be reached on his cell at 301-728-6981.
>
>
> The information contained in this electronic message is confidential information intended only for the use of
the named recipient(s) and may contain information that, among other protections, is the subject of attorney-
client privilege, attorney work product or exempt from disclosure under applicable law. If the reader of this
electronic message is not the named recipient, or the employee or agent responsible to deliver it to the named
recipient, you are hereby notified that any dissemination, distribution, copying or other use of this
communication is strictly prohibited and no privilege is waived. If you have received this communication in
error, please immediately notify the sender by replying to this electronic message and then deleting this
electronic message from your computer. [v.1]
>




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                             EXHIBIT 4
     Case 2:18-cv-02421-JFW-E Document 34-2 Filed 04/04/18 Page 11 of 15 Page ID #:395




Redacted: Attorney Client Communication




________________________________________
From: Graham Lanktree [g.lanktree@newsweek.com]
Sent: Tuesday, April 03, 2018 11:01 AM
To: stan.manning@circinus-llc.com; Elliott Broidy; Lee Wolosky
Cc: Brian Walsh
Subject: Urgent Media Request — Newsweek

Dear Mr. Broidy, Manning, and Wolosky,

I'm a reporter with Newsweek and have a few questions for Mr. Broidy and Circinus about the company's lobbying of Vice President
Mike Pence and the awarding of a $700K contract to your company by the Defense Security Service last year.

Early last August Circinus registered as a lobbyist and began spending $80,000 lobbying the Vice President's office for "opportunities
for government contracts," according to the government's lobbying database. In September 2017 Circinus LLC then
received<https://protect-us.mimecast.com/s/IwGJCG6QRlcWD69Wskx-Sm> its first major ($700k) contract from the Defense
Security Service.

These facts have raised a couple questions that I'm hoping you can help me answer.

Questions:
1. Could you please confirm the exact date Circinus was awarded the contract?

2. Was Circinus's lobbying of the Office of the Vice President disclosed to the Defense Security Service prior to the contract being
awarded?

3. What shape did Circinus's lobbying efforts take? Was it a series of meetings with the VP and/or his staff?

4. Was making a disclosure about this lobbying part of the contract solicitation and award process? Was it a requirement of that
process?

5. In November 2017 Mr. Broidy donated $5,000 to VP Pence's Great America Committee. Was this contribution made as part of
Circinus's lobbying efforts?

6. Has Mr. Broidy or Circinus been lobbying the White House, President Donald Trump, or VP Pence on behalf of any foreign states
or entities? Did he or Circinus conduct any lobbying work during the Obama administration? If so, did Mr. Broidy or a representative




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of Circinus registered under the Foreign Agents Registration Act (FARA)?

It would be great to hear back from you as soon as possible. Written, on the record statements are preferred.

Thank you for your assistance,

Graham Lanktree | Staff Writer
Newsweek International
Floor 24, 25 Canada Square, Canary Wharf, London, E14 5LQ

t | +44 (0)020 7718 8587
m | +44 (0)7522 122 775 <tel:+44%7540%892376>
tw | <https://protect-us.mimecast.com/s/ffjXCJ678ocp6VopHOVcGj> @g_lanktree<https://protect-
us.mimecast.com/s/6_FpCKr58pc8X6k8fo6-oT>




[http://d.europe.newsweek.com/en/full/67862/newsweek-logo-email-signature.jpg]<https://protect-us.mimecast.com/s/R-
pKCL95ZqcNG72NCKTB45>




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                             EXHIBIT 5
     Case 2:18-cv-02421-JFW-E Document 34-2 Filed 04/04/18 Page 14 of 15 Page ID #:398




Redacted: Attorney Client Communication




From: Graham Lanktree <g.lanktree@newsweek.com> 
Date: Tuesday, April 3, 2018 at 11:46 AM 
To: Brian Walsh <brian@rokksolutions.com> 
Subject: Re: Urgent Media Request — Newsweek 

Hi Brian,  

It would be great if you could speak with others at Circinus who have a handle on this. Yes, I've detailed those points and 
then posed specific questions about them. I'm not alleging anything against Mr. Broidy but following up on questions 
raised by transparency and ethics groups about the contract and other matters. Over the past year Mr. Broidy has spent 
$460K on campaign contributions to Republicans and the GOP—a large increase over previous years. In combination 
with the leaked emails the contract has raised questions with these groups. 

The Center for Responsive Politics told me: "The fact that Broidy has shown an apparent willingness to use his position in
executive/congressional circles (as evidenced by these emails) coupled with the renewed boost of contributions this year, the
lobbying expenditures and the new government contract should raise legitimate pay to play concerns here." 


Citizens for Responsibility and Ethics in Washington said: "The apparent timing of Fidelis’ lobbying activities on behalf of
Circinus and the contract award date suggests that lobbying activities may have influenced the government’s decision to award
Circinus a $708,138 non-competitive contract." I've included questions about the contract. 

CREW also responded to reports alleging Mr. Broidy has conducted lobbying work: "The published reports raise concerns under
the Foreign Agents Registration Act and campaign finance laws. If true, there are serious questions that need to be addressed


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as to why Mr. Broidy did not register as a foreign agent as he appears to have entered into an agreement for compensation in
June 2014, with a state-owned Russian bank to act as a political consultant." 


They raise similar concerns with respect to the published reports about Mr. Broidy’s UAE-related activities. "If true, the published
reports appear to provide credible evidence that would merit a DOJ investigation into potential FARA violations." 



Please let me know if you will be able to respond to my questions. It would be great to have a response by tomorrow. 

Thanks for your help, 

Graham 


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tw | @g_lanktree




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